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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

 SPECTRUM BRANDS INC.,

               Plaintiff,

         v.
                                                           C.A. No. 25-00046 (RGA)
 TRISTAR PRODUCTS INC., KISHORE
 MIRCHANDANI, individually and as trustee of
 AM KARMA 2021 FAMILY TRUST, ANJALI
 MIRCHANDANI, individually and as trustee of
 KM KARMA 2021 FAMILY TRUST, STEVEN
 SOWERS, as trustee of AM KARMA 2021
 FAMILY TRUST and KM KARMA 2021
 FAMILY TRUST, AM KARMA 2021 FAMILY
 TRUST, KM KARMA 2021 FAMILY TRUST,
 A&R REALTY ENTERPRISES LLC, CENTRE
 AVENUE LLC, and MT. ANDERSON LLC,

                 Defendants.

                      PLAINTIFF’S REQUEST FOR ORAL ARGUMENT

         Pursuant to Local Rule 7.1.4, Plaintiff Spectrum Brands Inc. respectfully requests oral

 argument on the following motions:

         (1) Defendants Anjali Mirchandani and KM Karma 2021 Family Trust’s Motion to Dismiss

 the Amended Complaint Based on Lack of Personal Jurisdiction and Failure to State a Cause of

 Action (D.I. 61). Briefing on the motion is now complete. (D.I. 62, 89, 93).

         (2) Defendants Tristar Products, Inc., Kishore Mirchandani, AM Karma 2021 Family

 Trust, A&R Realty Enterprises LLC, Centre Avenue LLC, Mt. Anderson LLC, and Steven Sowers,

 as trustee of AM Karma 2021 Family Trust’s Motion to Dismiss Spectrum’s Amended Complaint

 (D.I. 65). Briefing on the motion is now complete. (D.I. 66, 90, 95)

         (3) Defendants Tristar Products, Inc. and Kishore Mirchandani’s Motion to Strike

 Spectrum’s Request for Punitive Damages (D.I. 63). Briefing on the motion is now complete.

 (D.I. 64, 88, 94).




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                                            /s/ Benjamin J. Schladweiler
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